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                                                                           United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                        IN THE UNITED STATES DISTRICT COURT                        June 05, 2023
                            SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                  VICTORIA DIVISION

STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                               No. 6:23-cv-13
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES, et al.,
   Defendants.

     ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

         On this date, the Court considered Plaintiffs’ Unopposed Motion to Withdraw

  Aaron Reitz as Counsel. After considering the Motion, the Court is of the opinion that

  the Motion should be GRANTED.

         Accordingly, it is ORDERED, ADJUDGED and DECREED that Aaron Reitz is

  hereby withdrawn as counsel of record and Charles K. Eldred is listed as lead counsel

  for the Plaintiffs.

         SO ORDERED and SIGNED this _____          June
                                     5th day of ____________, 2023.



                                        United States District Judge




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